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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


UNITED STATES OF AMERICA          )
                                  )
          v.                      )
                                  )       1:08cr101 (JCC)
Abulaban et al.,                  )
                                  )
     Defendants.                  )


                M E M O R A N D U M        O P I N I O N

          These matters are before the Court on Defendant

Alokush’s Motion for Severance and Motion Regarding Discovery,

Defendant Abdullah’s Motion for Discovery, and Defendant Majali’s

Motion to Adopt and Conform Defendant Alokush’s Motion for

Severance and Motion for Discovery.        For the reasons stated

below, the Court will deny the motions to sever and deny the

discovery motions.

                            I.   Background

          This case arises out of an Immigration and Customs

Enforcement (“ICE”) sting operation.        The Defendants are alleged

to have conspired to sell cocaine and ecstasy in violation of 21

U.S.C. §§ 841(a)(1) and 846.      Much of the planning of the

conspiracy is alleged to have occurred in the Eastern District of

Virginia, with ecstacy delivered in New York and the discussion

of cocaine purchases taking place in North Carolina.

          On April 24, 2008, Defendant Amjad Alokush (“Alokush”)

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filed a Motion to Sever Defendant.       On April 25, 2008, Defendant

Fares Abulaban (“Abulaban”) also filed a Motion to Sever

Defendant.    These Motions were joined by Defendant Muneer Majali

(“Majali”).    On May 20, 2008, Abulaban requested that the Court

defer hearing on these Motions to allow extended time for

discovery and to reply to the Government’s Response, a request

granted on May 23, 2008.     Oral argument was set for June 6, 2008.

On June 3, 2008, Defendant Iyad Abdullah (“Abdullah”) made his

first filing in this case, a Motion to Adopt and Conform the

Motion to Sever.    On June 4, 2008, the Government responded,

requesting that the Court require Abdullah to make a showing of

good cause for failing to comply with the Court’s filing

deadlines.    Also on June 4, 2008, Defendant Abulaban filed a

Reply to the Government’s Response on Severance and Change of

Venue.

          On June 6, argument on the Motions was continued.            A

number of Defendants’ original co-defendants were dismissed from

the instant case and indicted in a separate proceeding, and

others were transferred under Fed. R. Crim. Pro. 20.          On June 19,

the government filed a Superseding Indictment (“SI”) charging the

remaining defendants with one count each of conspiring to

distribute cocaine and ecstasy in violation of 21 U.S.C. § 846.

The Court notified all parties on June 23 that they would have to

re-file any motions they wished to make in response to the SI.


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          On July 24, Alokush made a motion for discovery and a

motion to sever himself from the SI.       On July 25, Abdullah filed

a motion for discovery regarding the government’s confidential

informant.   Also on July 25, Majali filed a motion to adopt

Alokush’s two motions.     These motions are before the court.

                       II.   Standard of Review

     A. Severance

          Federal Rule of Criminal Procedure 14 allows for the

severance of defendants’ trials when “joinder of offenses or

defendants in an indictment . . . or a consolidation for trial

appears to prejudice a defendant.”       Fed. R. Crim. P. 14(a).

Severance is addressed to the discretion of the trial court.

Under Federal Rule of Criminal Procedure 8(b), an indictment “may

charge 2 or more defendants if they are alleged to have

participated in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or

offenses.”   “If the defendants were improperly joined under Rule

8(b), severance [is], of course, mandatory and not a matter of

discretion with the trial court.”       United States v. Santoni, 585

F.2d 667, 673 (4th Cir. 1978) (citations omitted).

          The Supreme Court has held that “when defendants

properly have been joined under Rule 8(b), a district court

should grant a severance under Rule 14 only if there is a serious

risk that a joint trial would compromise a specific trial right


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of one of the defendants, or prevent the jury from making a

reliable judgment about guilt or innocence.”         Zafiro v. United

States, 506 U.S. 534, 539 (1993).       Therefore, “[t]he party moving

for severance must establish that actual prejudice would result

from a joint trial, and not merely that a separate trial would

offer[] a better chance of acquittal.”        United States v. Reavis,

48 F.3d 763, 767 (4th Cir. 1995) (citations omitted).           The Fourth

Circuit “will only find an abuse of discretion where the trial

court's decision to deny a severance deprives the defendant of a

fair trial and results in a miscarriage of justice.”          Id.

(quotations omitted).

          In a conspiracy case, there is a presumption that

alleged co-conspirators will be tried together.         United States v.

Harris, 498 F.3d 278, 291 (4th Cir. 2007).         “[B]arring special

circumstances, individuals indicted together should be tried

together.”   United States v. Brugman, 655 F.2d 540, 542 (4th Cir.

1981).

     B. Discovery

          Discovery decisions are made at the discretion of the

District Court, and will not be overturned absent a clear abuse

of discretion.    Strag v. Bd. of Trustees, Craven Community

College, 55 F.3d 943, 954 (4th Cir. 1995); see also Conner v.

United States, 434 F.3d 676, 680 (4th Cir. 2006).

                             III. Analysis


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     A. Severance

           Defendant Alokush argues that fundamental fairness

requires the severance of his trial from that of his co-

defendants.   He raises three principal arguments.

           First, Alokush argues that if he must go to trial with

his co-defendants, he will be prejudiced by any of their

inculpatory statements that may be admitted into evidence.

Alokush relies on Crawford v. Washington for the proposition that

out-of-court testimonial statements incriminating him cannot be

admitted against him when he did not have a prior opportunity to

cross-examine the declarant.      Crawford v. Washington, 541 U.S.

36, 68 (2004).    This issue is moot, however, in light of the

government’s statement that it will not seek to admit inculpatory

post-arrest admissions made by his co-defendants that incriminate

Alokush.   See Gov’t.’s Resp. to Def.’s Motions at 2.

           Second, Alokush argues that the disparity of evidence

creates a risk of guilt by association that would prejudice his

trial.   Alokush notes that the SI mentions him with regard to

only a few overt acts: (1) that he accompanied Mohammed Alazzam

on deliveries of Benzocaine, used to “cut” cocaine, to Danny

Cooper; (2) that he was present at a May 30, 2007 meeting during

which drug trafficking discussions were held; and (3) that he

introduced Mohammed Alazzam to Iyad Abdullah, the ring’s alleged

source of ecstasy.    See SI at Overt Acts 1-3; 25; 26.         Alokush


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contrasts his alleged involvement with that of the remaining co-

defendants, all of whom are mentioned more often in the SI.            He

contends that United States v. Mardian, 546 F.2d 973 (D.C. Cir.

1976) supports his position.      In that case, the court held that

Mardian’s second motion for severance should have been granted,

in order to minimize the danger that “guilt will improperly ‘rub

off’” when there is a “great disparity in the weight of the

evidence, strongly establishing the guilt of some defendants.”

Mardian, 546 F.2d at 977 (citing United States v. Kelly, 349 F.2d

720, 756-59 (2d Cir. 1965)).

          The Mardian decision is only partially on-point.           While

Alokush, like Mardian, is named in only a handful of the alleged

overt acts, Mardian’s case was significantly different.           Mardian

was charged with one count of conspiracy, while his co-defendants

were all charged with multiple counts.        Here, Alokush is charged

with one count of conspiracy, as are all other co-defendants.

Additionally, Mardian’s initial motion for severance was denied,

and the circuit court, although it indicated that his initial

motion was a strong one, did not overturn that denial as an abuse

of discretion.    Instead, the court ruled that the trial court -

which can grant a motion for severance at any stage of the trial

if prejudice appears - should have granted Mardian’s second

motion for severance, made after his lead counsel became ill,

implicating his interest in being represented by counsel of his


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choice.   Moreover, the government did not oppose Mardian’s second

motion.   Id. at 977-982.

          Most importantly, the trial of Mardian and his co-

defendants focused on events that occurred after Mardian had

ceased to be an active participant in the Watergate cover-up.

Id. at 978.   The government alleges that Alokush, by contrast,

was the “partner” of defendant Mohammad Alazzam, who was an

active participant in most of the overt acts alleged in the

indictment.   See Gov’t.’s Resp. at 2-3.       And the SI alleges that

Alokush was involved in transporting Benzocaine, a chemical agent

used to cut cocaine, in Spring 2007, in the midst of the alleged

conspiracy.   See SI at Overt Acts 2-3.

          The party moving for severance must show that a joint

trial would result in actual prejudice, not just that he would

have a better chance at acquittal with a separate trial.           United

States v. Khan, 461 F.3d 477, 490-91 (4th Cir. 2006); United

States v. Duffy, 30 Fed. Appx. 240, 243 (4th Cir. 2002).           “In

ruling on a motion for severance, the trial court is vested with

discretion; it must carefully weigh the possible prejudice to the

accused against the often equally compelling interests of the

judicial process, which include the avoidance of needlessly

duplicative trials involving substantially similar proof.” United

States v. Jamar, 561 F.2d 1103, 1106 (4th Cir. 1977) (citing

United States v. Isaacs, 493 F.2d 1124, 1160 (7th Cir. 1974)).


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In light of these principles, Alokush has not shown the actual

prejudice that would warrant a separate trial.         The SI states

that he took action in furtherance of a broad conspiracy,

transporting a chemical agent used to cut cocaine.          It also

states that he was present at a meeting during which the parties

discussed the sale of 150 kilograms of cocaine and several

thousand tablets of ecstasy.      These are not the actions of a

person only tangentially affiliated with the activities alleged.

Including Alokush in the trial of his alleged co-conspirators

does not threaten his right to a fair trial.

          Finally, Alokush argues that he needs Iyad Abdullah

(“Abdullah”) to testify that he did not introduce Alazzam to

Abdullah, as alleged in paragraph 26 of the SI.         Under United

States v. Parodi, 703 F.2d 768 (4th Cir. 1983), a motion for

severance based on the need for a co-defendant’s testimony

entails a multi-factor analysis of the need for and strength of

the testimony that would be given.       See Mot. for Severance at 6;

Parodi, 703 F.2d at 779.

          This issue, like the first, is now moot.          In its

Response, the government admits that it no longer believes

Alokush introduced Alazzam to Abdullah in May 2007, as recounted

in Overt Act 26 of the SI.      The government learned since the date

of the SI that all three defendants knew each other previously.

Gov’t.’s Resp. at 5.     Alokush calls this a “central allegation”


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in the indictment against him; the government disputes the

overall importance of an introduction since all three defendants

knew each other previously.

            We agree that the government’s admission as to

paragraph 26 of the SI has little bearing on whether Alokush’s

trial should be severed from that of his co-defendants.           While

the fact that Alokush did not personally introduce Alazzam to

Abdullah incrementally weakens Alokush’s role as a go-between in

the conspiracy, it does not undercut the central premise that the

three were conspiring together.       The severance inquiry does not

rest on any one specific allegation.       Rather, it depends on

whether “there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or

innocence.”    Zafiro v. United States, 506 U.S. 534, 539 (1993).

The presumption is that alleged co-conspirators will be tried

together.    United States v. Harris, 498 F.3d 278, 291 (4th Cir.

2007).   “[B]arring special circumstances, individuals indicted

together should be tried together.”       United States v. Brugman,

655 F.2d 540, 542 (4th Cir. 1981).       Alokush has not shown actual

prejudice that would overcome this presumption.         This Court will

deny his Motion for Severance.

     B. Majali’s Motion to Adopt and Conform Alokush’s Motion for

         Severance


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               Defendant Muneer Majali, in his Motion to Adopt and

Conform, joins in Alokush’s Motion for Severance.            Majali

provided no additional information in his Motion on any intention

to use the testimony of a co-defendant, such that the application

of United States v. Parodi would be appropriate.            703 F.2d 768

(4th Cir. 1983).       The Court has no indication that the government

intends to use inculpatory, out-of-court testimonial statements

of any of Malali’s co-defendants against him.1

               Majali’s extensive involvement in the alleged

conspiracy - he appears in eleven of the 50 alleged overt acts in

the SI - significantly weakens a “disparity of the evidence” or

“guilt by association” argument for severance.           Majali does not

overcome the presumption that co-conspirators should be tried

together, and he has not come close to a showing of actual

prejudice.       Majali’s motion for severance by adoption will be

denied.

      C. Discovery

               Alokush and the government entered an agreed-upon

discovery order pursuant to Fed. R. Crim. Pro. 16(a) on April 14,

2008.       The Order covered (1) discovery and inspection; (2)

disclosure of evidence under Fed. R. Evid. 404(b); (3) any

exculpatory Brady material under Brady v. Maryland, 373 U.S. 83


        1
         If the government later decides to use such statements against
Majali, potentially activating his a right to severance under Crawford, Majali
can file, and this Court will consider, another Motion for Severance.

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(1963) and United States v. Agurs, 427 U.S. 97 (1976); and (4)

Jencks/Giglio materials for witnesses testifying in the

government’s case-in-chief.      In return, Alokush agreed to produce

the statements of any witness who would testify on his behalf.

The government entered similar agreed-upon discovery orders as to

defendants Abdullah and Majali (collectively, the “Discovery

Orders”).

            On April 25, 2008, Alokush made a Motion Regarding

Discovery, in order to “clarify the discovery order initially

entered, as well as to indicate the nature of exculpatory

evidence obligated to be disclosed.”         Mot. Regarding Discovery at

1.   The government filed a Consolidated Response to Defendants’

motions, including all unresolved motions for discovery, on May

12, 2008.    After the SI was entered, Alokush filed what was

essentially the same motion again.         Majali, by his Motion to

Adopt and Conform, joins in Alokush’s current Motion Regarding

Discovery.    The government relies on its earlier Consolidated

Response in opposition.

            On July 25, 2008, Abdullah filed a separate Motion for

Discovery, asking for the disclosure of further information

regarding the Confidential Informant (“CI”) used by the

government in its investigation.         The government responded on

August 8, 2008.

            To summarize, there are two pending motions for


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discovery, one of them joined in by Majali via his Motion to

Adopt and Conform.     Both motions ask for the disclosure of

further information regarding the CI, including Jencks Act and

Giglio material.    Alokush’s Motion also includes a number of

requests to “clarify” the agreed-upon discovery order.           The

parties have come to an agreement regarding these other discovery

issues.   The only remaining issue for the Court to decide

concerns discovery regarding the Confidential Informant.

     1. Discovery Concerning the Confidential Informant

           In its previous decision on Defendants’ motions for

discovery, the Court agreed that the government would have to

disclose the name of the CI who played a central role in

constructing the case against defendants.         The government

subsequently disclosed the CI’s name to defense counsel.

Abdullah and Alokush now seek additional information about the

CI, including all Jencks Act information, 18 U.S.C. § 3500, and

all information required to be disclosed under Giglio v. United

States, 405 U.S. 150 (1972).       They seek this Jencks/Giglio

information, normally discoverable only regarding government

witnesses, even if the government does not intend to call the CI

as a witness.    Abdullah contends that the defense is entitled to

more than the CI’s name, and Alokush states that he understood

that, in granting the motions, the Court would require, “as a

matter of fundamental fairness,” that the government “disclose


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all Jencks and Giglio material relating to the CI, even if the

prosecution did not intend to call him as a witness.”           Alokush’s

Mot. Regarding Disc. at 1.

           Abdullah’s Motion asks for all information potentially

discoverable under the Jencks Act and Giglio, including Social

Security numbers, alternate names, drivers license numbers, and

last known whereabouts.      Other requests under the Jencks/Giglio

heading include criminal history information, written and

recorded statements to law enforcement or the prosecution, and

information about any promises, inducements, etc., that were made

to the CI, among other requests.         See Abdullah’s Mot. for Disc.

at ¶¶ 1-7.   In support of his argument for further identifying

information, Abdullah cites Smith v. Illinois, 390 U.S. 129

(1968).   That case dealt with the ability of a defendant to

question a witness on the stand as to his real name and address.

It has no bearing on the discovery question at issue here.

           The government contends it has fulfilled its discovery

obligations with respect to the CI by releasing his name and that

it will make further disclosures as required by law and by the

agreed-upon Discovery Orders in place.        It also notes that the CI

has already received a death threat as a result of his

cooperation, and it argues that further disclosure of identifying

information is not required by law and would put the CI’s life in

danger.


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            The government further states that it will release

Jencks Act statements in accordance with the Discovery Orders if

it calls the CI as a witness, and that any written or recorded

statements from the CI that contain exculpatory evidence will be

disclosed to Abdullah.     See Gov’t.’s Resp. at 3.       It also states

that it will disclose the known criminal records of government

witnesses admissible under Fed. R. Evid. 609 when it makes its

other Jencks Act disclosures.       Id. at 3-4.    The government adds

that it will turn over other information on the CI’s criminal

history to the extent that such information represents Giglio

material.

            There is no doubt that the CI played a crucial role in

building the government’s case against the Defendants.           Neither

Alokush nor Abdullah, though, has cited any relevant case law or

other sources beyond the “spirit of the agreement” and a

fundamental fairness argument in support of his request for more

information regarding the CI.       In light of the government’s

ongoing, good faith efforts to produce all the material that it

agreed to produce, and in light of the danger further disclosure

could pose to the life of the CI, at this time the Court will not

order discovery with regard to the CI beyond the scope of the

agreed-upon Discovery Orders already in place.

                             IV. Conclusion

     For the reasons stated above, the Court will deny Defendant


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Alokush’s Motion for Severance; deny Defendant Alokush’s Motion

Regarding Discovery; deny Defendant Abdullah’s Motion for

Discovery; deny Defendant Majali’s Motion to Adopt and Conform to

Alokush’s Motion for Severance; and deny Defendant Majali’s

Motion to Adopt and Conform to Alokush’s Motion for Discovery.

           An appropriate Order will issue.


September 10, 2008                                 /s/
Alexandria, Virginia                         James C. Cacheris
                                    UNITED STATES DISTRICT COURT JUDGE
